                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 UNITED STATES OF AMERICA,                           §
                                                     §
            Plaintiff,                               §
                                                     §         Case No. EP-20-CR-00389-DCG
 v.                                                  §
                                                     §
 PATRICK WOOD CRUSIUS,                               §
                                                     §
           Defendant.                                §


                                      JOINT MOTION ON
                                     AGREED RESTITUTION
        The United States of America, by and through the United States Attorney for the Western

District of Texas, through the undersigned Assistant United States Attorneys, and PATRICK

WOOD CRUSIUS, through his undersigned Counsel, file this Motion on Agreed Restitution,

and in support thereof, would respectfully show this Honorable Court the following:

                         I. FACTUAL AND PROCEDURAL BACKGROUND

        On February 8, 2023, Defendant Patrick Wood Crusius pleaded guilty pursuant to a

written plea agreement (ECF 259) to all counts contained in a ninety-count superseding

indictment (ECF 82). In that plea agreement, Defendant agreed and stipulated to pay restitution

in an amount determined by the Court.

        On July 7, 2023, Defendant Patrick Wood Crusius was sentenced to serve ninety consecutive

life sentences, five years of supervised release per count to be served concurrently, and a $9,000 special

assessment.

        On July 20, 2023, the Court set a restitution hearing for September 25, 2023.
        Both the Government and the Defendant have reached an agreement on restitution on this

case:


        1.     The defendant agrees to pay restitution in the amount of $5,557,005.55 to the

claimants listed in the second supplemental attachment to the presentence investigation report

(ECF 298).

        This agreement represents a full agreement between the parties.

                                         II. CONCLUSION

         Wherefore premises considered, the United States and the Defendant request that this

 Motion be granted.



Respectfully submitted,

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                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 UNITED STATES OF AMERICA,                      §
                                                §
           Plaintiff,                           §
                                                §        Case No. EP-20-CR-00389-DCG
 v.                                             §
                                                §
 PATRICK WOOD CRUSIUS,                          §
                                                §
          Defendant.                            §


                                            ORDER

       On this day, came the Government and Defendant’s Joint Motion on Agreed Restitution,

and after considering the same, the following Order will enter:

       IT IS ORDERED that Defendant PATRICK WOOD CRUSIUS pay an amount of

restitution in the amount of $5,557,005.55 to the claimants listed in the second supplemental

attachment to the presentence investigation report.



_______________                              ________________________________
Date                                         DAVID C. GUADERRAMA
                                             SENIOR UNITED STATES DISTRICT JUDGE
